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       In the United States Court of Federal Claims
                                          No. 02-25L

                                     (Filed: April 17, 2009)
                                        ___________
 JICARILLA APACHE NATION, formerly
 JICARILLA APACHE TRIBE,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                          __________

                                            ORDER
                                          ___________

        On April 16, 2009, oral argument was held on multiple discovery motions in this case.
One factual issue that was briefed and discussed was defendant’s contention that “Plaintiff called
upon Mr. Abeyta, in his capacity as Plaintiff’s tribal assistance officer, to analyze Plaintiff’s
outside, non-BIA investments.” Def’s Response at 9 (Docket #162). To date, only select excerpts
of Mr. Abeyta’s deposition have been filed with the court. Accordingly, on or before April 23,
2009, defendant shall file the complete transcript of Mr. Gabriel Abeyta’s deposition and all the
exhibits associated therewith.

       IT IS SO ORDERED.


                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
